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                                          U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                   November 22, 2021

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. Joseph Chirico, S1 19 Cr. 833 (SHS)

Dear Judge Stein:

       The Government respectfully submits this letter to request, with the consent of the
defendant, that the sentencing hearing presently scheduled for November 30, 2021, at 11:00 a.m.,
be adjourned to a date and time convenient to the Court approximately six months thereafter.

                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney for the
                                                   Southern District of New York


                                               By: __________________________
                                                   Kiersten A. Fletcher
                                                   Robert B. Sobelman
                                                   Sheb Swett
                                                   Assistant United States Attorneys
                                                   (212) 637-2238 / 2616 / 6522


Cc: John D. Lynch, Esq. (by ECF)
